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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   FT. LAUDERDALE DIVISION

  DIANE MICKLES,

         Plaintiff,
                                                          CASE NO.: 0:18-cv-60992-KMM
  v.

  CREDIT ACCEPTANCE
  CORPORATION,

         Defendant.



        PLAINTIFF’S NOTICE OF NON-OBJECTION TO DEFENDANT’S MOTION
                                                [DOC. 14].


         COMES NOW Plaintiff, Diane Mickles, by and through her undersigned counsel, hereby

 gives Notice to the Court that she does not oppose to this Court staying the matter compelling this matter

 into arbitration per Defendant’s Motion [Doc. 14].

         Dated this 22 day of June, 2018.


                                                  Respectfully submitted,

                                                  s/ Amanda J. Allen
                                                     Amanda J. Allen, Esq.
                                                     Florida Bar No.: 0098228
                                                     William Peerce Howard, Esq.
                                                     Florida Bar No.: 0103330
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                                                     Attorney for Plaintiff
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 22, 2018, I electronically filed the foregoing with the Clerk of
  the Court by using the CM/ECF system to all parties of record.

                                               s/ Amanda J. Allen
                                                  Amanda J. Allen, Esq.
                                                  Florida Bar No.: 0098228
